                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION


UNITED STATES OF AMERICA                         )
                                                 )
v.                                               )           No. 3:11-00194
                                                 )           JUDGE CAMPBELL
STERLING RENEVA RIVERS                           )


                                             ORDER

       Pending before the Court are Defendant’s Petition To Suppress (Docket No. 1157),

Petition To Suppress With Incorporated Memorandum Of Law (Docket No. 1156), and

Supplemented Pleading To Suppress 12-12-09 Evidence (Docket No. 1250). The Court held a

hearing on the Petitions on April 30, 2013. For the reasons stated on the record, the Petitions are

DENIED.

       Also for the reasons stated on the record at the hearing on April 30, 2013, the Court

DENIED the Defendant’s oral motion objecting to the Court’s jurisdiction; and GRANTED the

Government’s oral motion to quash the subpoena served on FBI Special Agent Brett Shields.

       It is so ORDERED.



                                                     TODD J. CAMPBELL
                                                     UNITED STATES DISTRICT JUDGE




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